      Case: 1:18-cv-06918 Document #: 30 Filed: 03/19/19 Page 1 of 7 PageID #:160



                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

GLENDA R. LAWSON                                )
                                                )
          Plaintiff,                            )
                                                )            Case No.: 1:18-cv-06918
v.                                              )
                                                )
MANDARICH LAW GROUP, LLP                        )
                                                )
          Defendant.                            )

                           DEFENDANT’S REPLY IN SUPPORT OF
                                 MOTION TO DISMISS

          Defendant, Mandarich Law Group, LLP, (“MLG”) hereby submits its reply in support of

its motion to dismiss pursuant to Rule 12(b)(6) of the Federal Rules of Civil Procedure, and in

support of which, states as follows:

                                          ARGUMENT

     I.       Plaintiff Misinterprets Defendant’s Argument in Favor of Dismissal.

          Plaintiff relies extensively on Clomon v. Jackson, 988 F.2d 1314 (2d Cir. 1993) in

explaining that letters sent en mass can violate the FDCPA. However, Defendant is not arguing

that letters sent en mass are exempt from the purview of the FDCPA. Defendant is arguing that

merely alleging mailing en mass, without more, is insufficient to plausibly suggest that

Defendant failed to review her account prior to sending the letter.

          In Clomon, the Second Circuit found the mass mailed letters of the appellant, a solo

practitioner employed part-time by the debt collector, violated § 1692e given the language

therein, not simply because they were mass-mailed. See 988 F.2d at 1321. While it certainly

stated “[n]o mass mailing technique is permissible – regardless of how effective it might be – if

that technique constitutes a false, deceptive, or misleading communication.” See Dkt. 29, p. 2;


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     Case: 1:18-cv-06918 Document #: 30 Filed: 03/19/19 Page 2 of 7 PageID #:161



Clomon, 988 F.2d at 1321, Clomon does not stand for the proposition that a debt collector

violates the FDCPA simply by utilizing an automated process or mass mailing technique for a

collection letter. The Second Circuit did not merely base its opinion on the fact that the

appellant’s letters were mass-mailed. On the contrary, the majority of the opinion is with regard

to the specific language within the letters, and the Court makes it clear that said language

constituted false, deceptive or misleading communications in violation of § 1692e, not the fact

that they were mass-mailed. Id.

         In fact, the letters on which the Second Circuit based its decision are distinct from the

Letters here. The most glaring dissimilarity is that, unlike the letters in Clomon, none of the

Letters at issue here are signed by any MLG attorney. The presence of a facsimile attorney

signature on the letters in Clomon was a significant factor in the Court’s holding, a fact

acknowledged by Plaintiff in her opposition. See Dkt. 29, p. 2, n.1 and p.8. Such an indication

could, along with other information, plausibly suggest that the attorney was not meaningfully

involved in the review of the account. But, such is not the case here.

         The important point--- which Plaintiff misses--- is that she has pointed to few facts to

establish that MLG did not review her account prior to sending the letter. Essentially, Plaintiff

argues that alleging letters to be sent en mass is enough to plausibly allege that no attorney

review was conducted relative to the debt. While such a conclusion is certainly possible, without

more it is not plausible. And, unlike Plaintiff’s argument that possibility is enough, it is

plausibility that matters.1 As a matter of practicality, whether or not a letter template on each

account has very little to do with whether or not an attorney reviewed the account in a creditors’

rights firm. Assuming as such would certainly open the flood gates of litigation to every

1
  Plaintiff cites to Graehling v. City of Lombard, 58 F.3d 295, 297 (7th Cir. 1995) for the proposition that possibility
is enough. Graehling, however, was decided prior to the Supreme Court’s decisions in Bell Atlantic Corp v.
Twombly and Ashcroft v. Iqbal and plainly cites the wrong standard.

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    Case: 1:18-cv-06918 Document #: 30 Filed: 03/19/19 Page 3 of 7 PageID #:162



creditors’ rights law firm, which would be subject to a claim just because it uses templates for

correspondence. Attorneys can review accounts and then approve them for a particular letter

template. In short, merely alleging the use of templates and a large number of letters sent over

time indicates very little about the amount of attorney review.

        In contrast, this Court should find that more is required to state an effective “meaningful

involvement” claim. For example, allegations that a complaint filed was procedurally improper,

or that some piece of information concerning the debt was inaccurate, would be more indicative

of a failure to review. See, e.g., Satran v. LVNV Funding, LLC, 2018 U.S. Dist. LEXIS 92479,

2018 WL 2464486, at *7 (W.D. Wis. June 1, 2018) (factual allegations that “the complaint was

procedurally improper and the attorney who signed the complaint was attorney of record in an

unusually large number of cases . . . suggest[ed] that she was not applying her professional

judgment to each case" and stated a plausible claim for relief under § 1692e(3)). Under such

circumstances, one could reasonably, and plausibly conclude, that a proper review was not

conducted. Plaintiff can point to nothing about the information provided in the letter, or her

dealings with MLG, that would suggest that MLG was not meaningfully involved in the

collection of her debt. Merely pointing purported mass mailings, without more, should be

insufficient.

        Likewise, the fact that MLG has received complaints regarding other un-related debt

collection activity has nothing to do with Plaintiff, or her claims. This Court, through its own

docket, can take judicial notice that collection law firms are routinely sued under the FDCPA.

Those suits are not necessarily due to any true violation of the law. But regardless, the question

in this case is not relative to other consumers, but relative to Plaintiff. Defendant’s acts relative

to other debtors, when it has never been found to not have been meaningfully involved with any



                                                 3
     Case: 1:18-cv-06918 Document #: 30 Filed: 03/19/19 Page 4 of 7 PageID #:163



account, is completely irrelevant.

        Plaintiff also appears to make much of the fact that the names of MLG attorneys are not

on the letter’s heading but placed beside the information regarding the subject debt. Dkt. 29, p.

10. Plaintiff’s argument, however, ignores the definition and routine use of the term letterhead,

which is akin to preprinted stationary2. Only enterprising consumer counsel, not the

unsophisticated consumer, would rationally assume that every attorney listed in stationary

performed an attorney review of the circumstances of the consumer’s account. See Wahl v.

Midland Credit Mgmt., 556 F. 3d 643, 645 (7th Cir. 2009) (the unsophisticated consumer, while

naïve and trusting, is not a “dimwit.”); Pettit v. Retrieval Masters Creditors Bureau, Inc., 211

F.3d 1057, 1060 (7th Cir. 2000) (the unsophisticated consumer “is wise enough to read

collection notices with added care, [is possessed of] reasonable intelligence, and is capable of

making basic logical deductions and inferences.”).

         Moreover, Plaintiff’s opposition completely fails to respond to MLG’s well-supported

arguments regarding materiality. Specifically, MLG argued that only material3 statements are

actionable under the FDCPA, and it is of no matter to the unsophisticated consumer whether one

lawyer or ten lawyers at a law firm review the circumstances of her account. Plaintiff’s claims

fail for lack of materiality as the unsophisticated consumer would not take a different course of

action if only one attorney, as opposed to more, were listed on the letterhead. Dkt. 26, p. 7.

        By ignoring these arguments, Plaintiff waives her right to contest them. See, Alioto v.

Town of Lisbon, 651 F.3d 715, 721 (7th Cir. 2011) (“Longstanding under our case law is the rule

that a person waives an argument by failing to make it before the district court. We apply that

2
  This Court can take judicial notice of the fact that “letterhead” is defined as 1: stationery printed or engraved
usually with the name and address of an organization; 2: the heading at the top of a letterhead. Letterhead, Meriam-
Webster (online) https://www.merriam-webster.com/dictionary/letterhead (last visited March 15, 2019).
3
  Statements are “material” within the sense of §1692e if it has “the ability to influence a consumer’s decision”.
O’Rourke v. Palisades Acquisition XVI, LLC, 635 F.3d 938, 942 (7th Cir. 2011).

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    Case: 1:18-cv-06918 Document #: 30 Filed: 03/19/19 Page 5 of 7 PageID #:164



rule where a party fails to develop arguments related to a discrete issue, and we also apply that

rule where a litigant effectively abandons the litigation by not responding to alleged deficiencies

in a motion to dismiss.” (citations omitted)). Plaintiff’s concession means this Court must grant

MLG’s motion as as to each waived argument and dismiss those claims as warranted. See, Id.

(“Our system of justice is adversarial, and our judges are busy people. If they are given plausible

reasons for dismissing a complaint, they are not going to do the plaintiff's research and try to

discover whether there might be something to say against the defendants’ reasoning.” (quotation

marks omitted)); see also, Bonte v. U.S. Bank, N.A., 624 F.3d 461, 466-67 (7th Cir. 2010)

(“Failure to respond to an argument…results in waiver…This leaves us no choice but to accept

[defendant’s] assertions—supported as they are by pertinent legal authority—that the allegations

in the [plaintiffs’] complaint do not entitle them to relief.”). Thus, by failing to offer any

response to MLG’s arguments regarding the materiality of her claims, Plaintiff’s Amended

Complaint warrants dismissal.

   II.      Plaintiff’s Tag-Along § 1692f Claim Fails for Another Reason

         Plaintiff posits that Knack-Toms is the leading precedent regarding duplicative claims

under § 1692f. See Dkt. 29, pp. 14-15. Contrary to Plaintiff’s assertion, the majority view in the

Seventh Circuit and beyond that a Plaintiff may not prove a 1692f claim merely by pointing to

the letter’s purportedly misleading nature, when she also makes the same claim relevant to other

sections of the FDCPA. See, e.g., Al v. Van Ru Credit Corp., 2019 U.S. Dist. LEXIS 6321, at *9

(E.D. Wis. Jan. 14, 2019); Vanhuss v. Kohn Law Firm S.C., 127 F. Supp. 3d 980, 989 (W.D.

Wis. 2015) (collecting cases); Rush v. Portfolio Recovery Assocs. LLC, 977 F. Supp. 2d 414, 432

(D.N.J. 2013) (“Courts have therefore determined that § 1692f cannot be the basis of a separate

claim for complained of conduct that is already explicitly addressed by other sections of the



                                                 5
    Case: 1:18-cv-06918 Document #: 30 Filed: 03/19/19 Page 6 of 7 PageID #:165



FDCPA[.]”); Chalik v. Westport Recovery Corp., 677 F. Supp. 2d 1322, 1330 (S.D. Fla. 2009)

(“However, a claim of a violation of §1692f is deficient if it ‘does not identify any misconduct

beyond that which Plaintiffs assert violate other provisions of the FDCPA.’”). Importantly, while

Knack-Toms did decide both 1692e and f claims were available, it contained no analysis

whatsoever and merely concluded that “what claims can be proved and what relief is available or

duplicative under the FDCPA must await a later determination.” Knack-Toms, 345 F. Supp. 3d

1033, 1040 (N.D. Ill. 2018). Such an approach is not only inefficient but fails to consider the

aforementioned case law. In short, while Plaintiff attempts to state a violation of § 1692f for

conduct she also claims violates § 1692e, her claim fails since no conduct is identified outside of

that which would violate § 1692e. Accordingly, there can be no plausible claim for relief and

Plaintiff’s Amended Complaint must be dismissed with prejudice.

                                        CONCLUSION

       For the foregoing reasons, Defendant, Mandarich Law Group, LLP, respectfully requests

that this Honorable Court dismiss Plaintiff’s Amended Complaint with prejudice and for such

further and other relief this Honorable Court deems just.

Dated: March 19, 2019                                Respectfully submitted,

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                                                6
    Case: 1:18-cv-06918 Document #: 30 Filed: 03/19/19 Page 7 of 7 PageID #:166



                               CERTIFICATE OF SERVICE

       I hereby certify that on March 19, 2019, I electronically filed the foregoing with the Clerk

of the District Court using the CM/ECF system, which will send notification of such filing to the

attorneys of record.


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                                                7
